              Case 20-19358-VFP                   Doc 1     Filed 08/07/20 Entered 08/07/20 10:13:27                               Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Commercial Products Co, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  117 Ethel Avenue                                                PO Box 504
                                  Hawthorne, NJ 07506                                             Hawthorne, NJ 07507
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Passaic                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.commercial-products.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Commercial Products Co, Inc.                                                                  Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                    debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                     Relationship
                                                  District                                 When                              Case number, if known



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Debtor   Commercial Products Co, Inc.                                                              Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Commercial Products Co, Inc.                                                             Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      August 7, 2020
                                                  MM / DD / YYYY


                             X   /s/ Elaine Arnoldi                                                       Elaine Arnoldi
                                 Signature of authorized representative of debtor                         Printed name

                                 Title




18. Signature of attorney    X   /s/ Stephen B. McNally                                                    Date August 7, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Stephen B. McNally
                                 Printed name

                                 McNally & Associates, LLC
                                 Firm name

                                 93 Main Street
                                 Suite 201
                                 Newton, NJ 07860
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     973-300-4260                  Email address      steve@mcnallylawllc.com

                                 5335 NJ
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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 Fill in this information to identify the case:

 Debtor name         Commercial Products Co, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          August 7, 2020                          X /s/ Elaine Arnoldi
                                                                       Signature of individual signing on behalf of debtor

                                                                       Elaine Arnoldi
                                                                       Printed name


                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                 Case 20-19358-VFP                         Doc 1      Filed 08/07/20 Entered 08/07/20 10:13:27                                          Desc Main
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 Fill in this information to identify the case:
 Debtor name Commercial Products Co, Inc.
 United States Bankruptcy Court for the: DISTRICT OF NEW JERSEY                                                                                       Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 C. Lever Co. Inc.                                                                                                                                                          $7,100.00
 736 Dunks Ferry
 Bensalem, PA 19020
 Callahan Company                                                                       Contingent                                                                          $2,230.00
 PO Box 8500                                                                            Unliquidated
 Philadelphia, PA                                                                       Disputed
 19178
 Claudia Thayne                                                  Judgment: 117          Contingent                                                                      $182,255.00
 18 Heron Isle Court                                             Ethel Avenue,          Unliquidated
 Berlin, MD 21811                                                Hawthorne, NJ          Disputed
 David and Patricia                                                                     Contingent                                                                      $306,015.00
 Turettini                                                                              Unliquidated
 c/o John Koontz                                                                        Disputed
 575 Grove Street
 Ridgewood, NJ
 07450
 Empire Freight                                                                         Contingent                                                                          $1,200.00
 Logistics                                                                              Unliquidated
 6567 Kinne Road                                                                        Disputed
 Syracuse, NY 13214
 Frank Callahan                                                                         Contingent                                                                        $84,680.00
 8085 West McNab                                                                        Unliquidated
 Road                                                                                   Disputed
 Fort Lauderdale, FL
 33321
 Internal Revenue                                                                       Contingent                                                                        $14,580.57
 Service                                                                                Unliquidated
 United States                                                                          Disputed
 Treasury
 Ogden, UT 84201
 James Andrew                                                                           Contingent                                                                        $32,057.00
 Koontz                                                                                 Unliquidated
 20 Pomander Walk                                                                       Disputed
 Ridgewood, NJ
 07450




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Commercial Products Co, Inc.                                                                       Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Michael Kessler                                                                        Contingent                                                                      $149,191.00
 40 Market Street                                                                       Unliquidated
 #432                                                                                   Disputed
 Morristown, NJ
 07960
 Mike & Susan Lewis                                                                     Contingent                                                                      $564,660.00
 c/o Michael Kessler                                                                    Unliquidated
 40 Market Street                                                                       Disputed
 Suite 432
 Morristown, NJ
 07960
 Raymond Kessler                                                                        Contingent                                                                      $119,820.00
 40 Market Street                                                                       Unliquidated
 #432                                                                                   Disputed
 Morristown, NJ
 07960
 State of New Jersey                                                                    Contingent                                                                        $10,668.95
 Division of                                                                            Unliquidated
 Employer Accounts                                                                      Disputed
 PO Box 059
 Trenton, NJ 08646
 State of New Jersey                                                                    Contingent                                                                          $7,230.00
 Department of                                                                          Unliquidated
 Environmental                                                                          Disputed
 Protection
 401 East State
 Street
 Trenton, NJ 08608
 State of New Jersey                                                                    Contingent                                                                            $281.00
 - CBT                                                                                  Unliquidated
 PO Box 644                                                                             Disputed
 Trenton, NJ 08646
 TD Bank                                                                                                                                                                  $18,395.00
 617 Lafayette
 Avenue #501
 Hawthorne, NJ
 07506
 Veckridge Chemical                                                                     Contingent                                                                        $77,906.72
 60-70 Central                                                                          Unliquidated
 Avenue                                                                                 Disputed
 Kearny, NJ 07032
 VIP Products                                                                           Contingent                                                                            $802.60
 Corporation                                                                            Unliquidated
 3805 Frankford                                                                         Disputed
 Avenue
 Philadelphia, PA
 19124




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Fill in this information to identify the case:

 Debtor name            Commercial Products Co, Inc.

 United States Bankruptcy Court for the:                       DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $           700,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           102,156.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           802,156.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $            48,862.27


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            25,530.52

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        1,553,542.32


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           1,627,935.11




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
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 Fill in this information to identify the case:

 Debtor name         Commercial Products Co, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest
 2.        Cash on hand                                                                                                                                  $50.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number
                    TD Bank
                    subject to levy in favor of Claudia
           3.1.     Thayne                                                  Checking                                                                $35,299.00


                    TD Bank
                    subject to levy in favor of Claudia
           3.2.     Thayne                                                                                                                               $32.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                     $35,381.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor         Commercial Products Co, Inc.                                                            Case number (If known)
                Name


        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                                 34,475.00    -                                    0.00 = ....                 $34,475.00
                                              face amount                                 doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                                    $34,475.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last                Net book value of          Valuation method used   Current value of
                                                      physical inventory              debtor's interest          for current value       debtor's interest
                                                                                      (Where available)

 19.       Raw materials
           Chemicals                                                                            $26,000.00                                         $26,000.00



 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                                    $26,000.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                         Valuation method                               Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 2
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 Debtor         Commercial Products Co, Inc.                                                  Case number (If known)
                Name

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Furniture                                                                        $0.00                                          $350.00



 40.       Office fixtures
           Fixtures                                                                         $0.00                                          $350.00



 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Computers                                                                        $0.00                                          $350.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                             $1,050.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     2002 Chevrolet Box Truck                                               $0.00                                          $250.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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 Debtor         Commercial Products Co, Inc.                                                  Case number (If known)
                Name

            Computers, machinary and equipment                                              $0.00                                           $3,000.00


            Machinery and equipment                                                         $0.00                                           $2,000.00



 51.        Total of Part 8.                                                                                                            $5,250.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and          Net book value of        Valuation method used   Current value of
            property                                      extent of           debtor's interest        for current value       debtor's interest
            Include street address or other               debtor's interest   (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. 117 Ethel Avenue
                     Hawthorne, New
                     Jersey 07506                                                           $0.00                                        $700,000.00




 56.        Total of Part 9.                                                                                                           $700,000.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of        Valuation method used    Current value of
                                                                              debtor's interest        for current value        debtor's interest
                                                                              (Where available)

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 4
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                Name



 60.        Patents, copyrights, trademarks, and trade secrets
            Debtor maintains formulas for the chemical
            mixture it sells which are proprietary but not
            patented.                                                                       $0.00                                             $0.00



 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                              $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 5
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 Debtor          Commercial Products Co, Inc.                                                                        Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $35,381.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                     $34,475.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                               $26,000.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                            $1,050.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                        $5,250.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                        $700,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $102,156.00           + 91b.              $700,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $802,156.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                         page 6
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 Fill in this information to identify the case:

 Debtor name         Commercial Products Co, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Borough of Hawthorne                           Describe debtor's property that is subject to a lien                   $48,862.27              $700,000.00
       Creditor's Name                                117 Ethel Avenue, Hawthorne, NJ
       445 Lafayette Avenue
       Hawthorne, NJ 07506
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   KCK Funding                                    Describe debtor's property that is subject to a lien                          $0.00            $700,000.00
       Creditor's Name                                1st Mortgage: 117 Ethel Avenue, Hawthorne,
       c/o Michael Kessler                            NJ
       40 Market Street #432
       Morristown, NJ 07960
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
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 Debtor       Commercial Products Co, Inc.                                                      Case number (if known)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed




 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.           $48,862.27

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Commercial Products Co, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                     $14,580.57          $0.00
           Internal Revenue Service                                  Check all that apply.
           United States Treasury                                       Contingent
           Ogden, UT 84201                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00      $0.00
           New Jersey Attorney General                               Check all that apply.
           Office                                                       Contingent
           Division of Law                                              Unliquidated
           Richard J. Hughes Justice                                    Disputed
           Complex
           25 Market Street, PO Box 112
           Trenton, NJ 08625
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Notice Only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1 of 9
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 Debtor       Commercial Products Co, Inc.                                                                    Case number (if known)
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $10,668.95         $0.00
           State of New Jersey                                       Check all that apply.
           Division of Employer Accounts                                Contingent
           PO Box 059                                                   Unliquidated
           Trenton, NJ 08646
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.4       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                            $281.00        $0.00
           State of New Jersey - CBT                                 Check all that apply.
           PO Box 644                                                   Contingent
           Trenton, NJ 08646                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.5       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                               $0.00       $0.00
           United States Attorney                                    Check all that apply.
           Peter Rodino Federal Building                                Contingent
           970 Broad Street, Suite 700                                  Unliquidated
           Newark, NJ 07102                                             Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Notice Only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.6       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                               $0.00       $0.00
           United States Attorney General                            Check all that apply.
           United States Department of                                  Contingent
           Justice                                                      Unliquidated
           Ben Franklin Station                                         Disputed
           PO Box 683
           Washington, DC 20044
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Notice Only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 2 of 9
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 Debtor       Commercial Products Co, Inc.                                                            Case number (if known)
              Name

 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Amptek Electric                                                       Contingent
          84 Ethel Avenue                                                       Unliquidated
          Hawthorne, NJ 07506                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Belmar Spring Water                                                   Contingent
          410 Grove Street                                                      Unliquidated
          Glen Rock, NJ 07452                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Bobby Van                                                             Contingent
          98 Lincoln Avenue                                                     Unliquidated
          Hawthorne, NJ 07506                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Bolkema Fuel Co.                                                      Contingent
          75 Mollie Court                                                       Unliquidated
          Mahwah, NJ 07430                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,100.00
          C. Lever Co. Inc.                                                     Contingent
          736 Dunks Ferry                                                       Unliquidated
          Bensalem, PA 19020                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,230.00
          Callahan Company                                                      Contingent
          PO Box 8500
                                                                                Unliquidated
          Philadelphia, PA 19178
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Cassandra Norgaard                                                    Contingent
          Norgaard O'Boyle & Hannon                                             Unliquidated
          184 Grand Avenue                                                      Disputed
          Englewood, NJ 07631
                                                                             Basis for the claim:    Notice Only
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 3 of 9
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              Name

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $182,255.00
          Claudia Thayne                                                        Contingent
          18 Heron Isle Court
                                                                                Unliquidated
          Berlin, MD 21811
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Judgment: 117 Ethel Avenue, Hawthorne, NJ
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          DASCO                                                                 Contingent
          9785 Maroon Circle                                                    Unliquidated
          Suite 110                                                             Disputed
          Englewood, CO 80112
                                                                             Basis for the claim:    Notice Only
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $306,015.00
          David and Patricia Turettini                                          Contingent
          c/o John Koontz
                                                                                Unliquidated
          575 Grove Street
          Ridgewood, NJ 07450                                                   Disputed

          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,200.00
          Empire Freight Logistics                                              Contingent
          6567 Kinne Road
                                                                                Unliquidated
          Syracuse, NY 13214
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Fav's Welding                                                         Contingent
          504 Grove Street                                                      Unliquidated
          New Milford, NJ 07646                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Federal Express                                                       Contingent
          PO Box 223125                                                         Unliquidated
          Pittsburgh, PA 15251                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $84,680.00
          Frank Callahan                                                        Contingent
          8085 West McNab Road
                                                                                Unliquidated
          Fort Lauderdale, FL 33321
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 4 of 9
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 Debtor       Commercial Products Co, Inc.                                                            Case number (if known)
              Name

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Gary Ledgerwood                                                       Contingent
          159 Seabreeze Avenue                                                  Unliquidated
          Middletown, NJ 07748                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          H Carcamo                                                             Contingent
          350 Front Street                                                      Unliquidated
          Secaucus, NJ 07094                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          HB Fuller Company                                                     Contingent
          PO Box 842401                                                         Unliquidated
          Boston, MA 02284                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Home Supply & Lumber, Inc.                                            Contingent
          160 Van Winkle Avenue                                                 Unliquidated
          Hawthorne, NJ 07506                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Interstate Waste                                                      Contingent
          PO Box 554744                                                         Unliquidated
          Detroit, MI 48255                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $32,057.00
          James Andrew Koontz                                                   Contingent
          20 Pomander Walk
                                                                                Unliquidated
          Ridgewood, NJ 07450
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Keith Industries                                                      Contingent
          248 Astor Street                                                      Unliquidated
          Newark, NJ 07114                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 5 of 9
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 Debtor       Commercial Products Co, Inc.                                                            Case number (if known)
              Name

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Manatee Environmental Assoc.                                          Contingent
          PO Box 941                                                            Unliquidated
          Cherry Hill, NJ 08003                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $149,191.00
          Michael Kessler                                                       Contingent
          40 Market Street #432
                                                                                Unliquidated
          Morristown, NJ 07960
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $564,660.00
          Mike & Susan Lewis
          c/o Michael Kessler                                                   Contingent
          40 Market Street                                                      Unliquidated
          Suite 432                                                             Disputed
          Morristown, NJ 07960
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          New Jersey Casualty Ins. Co.                                          Contingent
          PO Box 1228                                                           Unliquidated
          Trenton, NJ 08628                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Olympic Payroll Services                                              Contingent
          64 US Highway 46 West                                                 Unliquidated
          Pine Brook, NJ 07058                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Omnova Solutions, Inc.                                                Contingent
          PO Box 905162                                                         Unliquidated
          Charlotte, NC 28290                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Oxford United Health                                                  Contingent
          PO Box 1697                                                           Unliquidated
          Newark, NJ 07101                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Paraco Gas                                                            Contingent
          800 Westchester Avenue                                                Unliquidated
          Port Chester, NY 10573                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Peter R. Bray                                                         Contingent
          Bray & Bray, LLC                                                      Unliquidated
          100 Misty Lane                                                        Disputed
          Parsippany, NJ 07054
                                                                             Basis for the claim:    Notice Only
          Date(s) debt was incurred
                                                                             F-16964-19
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          PSE&G                                                                 Contingent
          PO Box 14444                                                          Unliquidated
          New Brunswick, NJ 08906                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Rahway Steel Drum                                                     Contingent
          26 Brick Yard Road                                                    Unliquidated
          Cranbury, NJ 08512                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $119,820.00
          Raymond Kessler                                                       Contingent
          40 Market Street #432
                                                                                Unliquidated
          Morristown, NJ 07960
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Royal Adhesives and Sealants                                          Contingent
          PO Box 711886                                                         Unliquidated
          Cincinnati, OH 45271                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,230.00
          State of New Jersey                                                   Contingent
          Department of Environmental Protection
                                                                                Unliquidated
          401 East State Street
          Trenton, NJ 08608                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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              Name

 3.36      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $18,395.00
           TD Bank                                                              Contingent
           617 Lafayette Avenue #501                                            Unliquidated
           Hawthorne, NJ 07506                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           Tunnel Drum & Barrel                                                 Contingent
           329 Veterans Boulevard                                               Unliquidated
           Carlstadt, NJ 07072                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Only
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           UPS                                                                  Contingent
           PO Box 7247                                                          Unliquidated
           Philadelphia, PA 19170                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Only
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.39      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           US Postal Service                                                    Contingent
                                                                                Unliquidated
           Hawthorne, NJ 07507                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Only
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.40      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $77,906.72
           Veckridge Chemical                                                   Contingent
           60-70 Central Avenue
                                                                                Unliquidated
           Kearny, NJ 07032
                                                                                Disputed
           Date(s) debt was incurred
           Last 4 digits of account number                                   Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.41      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           Verizon Wireless                                                     Contingent
           PO Box 16801                                                         Unliquidated
           Newark, NJ 07101                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Only
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $802.60
           VIP Products Corporation                                             Contingent
           3805 Frankford Avenue
                                                                                Unliquidated
           Philadelphia, PA 19124
                                                                                Disputed
           Date(s) debt was incurred
           Last 4 digits of account number                                   Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

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              Name


   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                              On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                 related creditor (if any) listed?              account number, if
                                                                                                                                                any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                  Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.       $                     25,530.52
 5b. Total claims from Part 2                                                                       5b.   +   $                  1,553,542.32

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $                     1,579,072.84




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 Fill in this information to identify the case:

 Debtor name         Commercial Products Co, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Commercial Products Co, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                       Name                        Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code




Official Form 206H                                                               Schedule H: Your Codebtors                                   Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Commercial Products Co, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                               $314,054.00
       From 11/01/2020 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                               $632,655.00
       From 11/01/2019 to Filing Date
                                                                                                   Other


       For year before that:                                                                       Operating a business                               $815,660.00
       From 11/01/2018 to 10/31/2019
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
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    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
    may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property

       Claudia Thayne, et. al.                                   Levy of TD Bank account                                       June 2020                  $32,000.00
       18 Heron Isle Court
       Berlin, MD 21811


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    KCK Equity Funding, LLC v.                        Foreclosure                Passaic County Superior                      Pending
               Commercial Products Co.,                                                     Court                                        On appeal
               Inc.
                                                                                                                                         Concluded
               F-16964-19

       7.2.    Claudia K. Thayne, David                          Civil Action               Morris County Superior                       Pending
               Turrettini and Patricia                                                      Court                                        On appeal
               Turrettini v. Michael Kessler
                                                                                                                                         Concluded
               and Commerical Products
               Company
               L-1056-17

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

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           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                     Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss      Value of property
       how the loss occurred                                                                                                                                lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates            Total amount or
                the transfer?                                                                                                                            value
                Address
       11.1.    McNally & Associates, LLC
                93 Main Street
                Suite 201
                Newton, NJ 07860                                                                                                                    $11,710.00

                Email or website address


                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                   Dates transfers        Total amount or
                                                                                                                         were made                       value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                     Date transfer       Total amount or
               Address                                           payments received or debts paid in exchange                was made                     value

 Part 7:       Previous Locations

14. Previous addresses
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    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                        Names of anyone with                Description of the contents            Do you still
                                                                      access to it                                                               have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.



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          None

       Facility name and address                                      Names of anyone with                Description of the contents        Do you still
                                                                      access to it                                                           have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                     Court or agency name and            Nature of the case                 Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known    Date of notice
                                                                      address
       NJ DEP                                                                                                 NJ DEP has been advised
                                                                                                              that runoff from main lot to
                                                                                                              rear lot may require
                                                                                                              remediation.


24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known    Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 5
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 Debtor      Commercial Products Co, Inc.                                                               Case number (if known)



          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Dennis Jacob
                    776 Omaggio Place
                    Henderson, NV 89011

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Elaine Arnoldi, President
                    1610 Vista Terrace
                    Pompton Lakes, NJ 07442

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                          Date of inventory       The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any                    % of interest, if
                                                                                                          interest                                      any
       Elaine Arnoldi                                 1610 Vista Terrace                                  President                                     100%
                                                      Pompton Lakes, NJ 07442



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.
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 Debtor      Commercial Products Co, Inc.                                                               Case number (if known)




30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 Elaine Arnoldi
       .                                                         $26,000                                                 weekly            salary

               Relationship to debtor



       30.2 Elaine Arnoldi
       .    1610 Vista Terrrace
               Pompton Lakes, NJ 07442                           $22,800 for monthly rent                                monthly           Rent

               Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         August 7, 2020

 /s/ Elaine Arnoldi                                                     Elaine Arnoldi
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                                               United States Bankruptcy Court
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                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 10,000.00
             Prior to the filing of this statement I have received                                        $                  2,000.00
             Balance Due                                                                                  $                  8,000.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     August 7, 2020                                                               /s/ Stephen B. McNally
     Date                                                                         Stephen B. McNally
                                                                                  Signature of Attorney
                                                                                  McNally & Associates, LLC
                                                                                  93 Main Street
                                                                                  Suite 201
                                                                                  Newton, NJ 07860
                                                                                  973-300-4260 Fax: 973-300-4264
                                                                                  steve@mcnallylawllc.com
                                                                                  Name of law firm




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                                                          LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder

 -NONE-



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the of the corporation named as the debtor in this case, declare under penalty of perjury that I have read the
foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date August 7, 2020                                                         Signature /s/ Elaine Arnoldi
                                                                                            Elaine Arnoldi

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                               VERIFICATION OF CREDITOR MATRIX


I, the of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to the best

of my knowledge.




 Date:       August 7, 2020                                              /s/ Elaine Arnoldi
                                                                         Elaine Arnoldi/
                                                                         Signer/Title




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                        Amptek Electric
                        84 Ethel Avenue
                        Hawthorne, NJ 07506


                        Belmar Spring Water
                        410 Grove Street
                        Glen Rock, NJ 07452


                        Bobby Van
                        98 Lincoln Avenue
                        Hawthorne, NJ 07506


                        Bolkema Fuel Co.
                        75 Mollie Court
                        Mahwah, NJ 07430


                        Borough of Hawthorne
                        445 Lafayette Avenue
                        Hawthorne, NJ 07506


                        C. Lever Co. Inc.
                        736 Dunks Ferry
                        Bensalem, PA 19020


                        Callahan Company
                        PO Box 8500
                        Philadelphia, PA 19178


                        Cassandra Norgaard
                        Norgaard O'Boyle & Hannon
                        184 Grand Avenue
                        Englewood, NJ 07631


                        Claudia Thayne
                        18 Heron Isle Court
                        Berlin, MD 21811


                        DASCO
                        9785 Maroon Circle
                        Suite 110
                        Englewood, CO 80112
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                    David and Patricia Turettini
                    c/o John Koontz
                    575 Grove Street
                    Ridgewood, NJ 07450


                    Empire Freight Logistics
                    6567 Kinne Road
                    Syracuse, NY 13214


                    Fav's Welding
                    504 Grove Street
                    New Milford, NJ 07646


                    Federal Express
                    PO Box 223125
                    Pittsburgh, PA 15251


                    Frank Callahan
                    8085 West McNab Road
                    Fort Lauderdale, FL 33321


                    Gary Ledgerwood
                    159 Seabreeze Avenue
                    Middletown, NJ 07748


                    H Carcamo
                    350 Front Street
                    Secaucus, NJ 07094


                    HB Fuller Company
                    PO Box 842401
                    Boston, MA 02284


                    Home Supply & Lumber, Inc.
                    160 Van Winkle Avenue
                    Hawthorne, NJ 07506


                    Internal Revenue Service
                    United States Treasury
                    Ogden, UT 84201


                    Interstate Waste
                    PO Box 554744
                    Detroit, MI 48255
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                    James Andrew Koontz
                    20 Pomander Walk
                    Ridgewood, NJ 07450


                    KCK Funding
                    c/o Michael Kessler
                    40 Market Street #432
                    Morristown, NJ 07960


                    Keith Industries
                    248 Astor Street
                    Newark, NJ 07114


                    Manatee Environmental Assoc.
                    PO Box 941
                    Cherry Hill, NJ 08003


                    Michael Kessler
                    40 Market Street #432
                    Morristown, NJ 07960


                    Mike & Susan Lewis
                    c/o Michael Kessler
                    40 Market Street
                    Suite 432
                    Morristown, NJ 07960


                    New Jersey Attorney General Office
                    Division of Law
                    Richard J. Hughes Justice Complex
                    25 Market Street, PO Box 112
                    Trenton, NJ 08625


                    New Jersey Casualty Ins. Co.
                    PO Box 1228
                    Trenton, NJ 08628


                    Olympic Payroll Services
                    64 US Highway 46 West
                    Pine Brook, NJ 07058


                    Omnova Solutions, Inc.
                    PO Box 905162
                    Charlotte, NC 28290
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                    Oxford United Health
                    PO Box 1697
                    Newark, NJ 07101


                    Paraco Gas
                    800 Westchester Avenue
                    Port Chester, NY 10573


                    Peter R. Bray
                    Bray & Bray, LLC
                    100 Misty Lane
                    Parsippany, NJ 07054


                    PSE&G
                    PO Box 14444
                    New Brunswick, NJ 08906


                    Rahway Steel Drum
                    26 Brick Yard Road
                    Cranbury, NJ 08512


                    Raymond Kessler
                    40 Market Street #432
                    Morristown, NJ 07960


                    Royal Adhesives and Sealants
                    PO Box 711886
                    Cincinnati, OH 45271


                    State of New Jersey
                    Division of Employer Accounts
                    PO Box 059
                    Trenton, NJ 08646


                    State of New Jersey
                    Department of Environmental Protection
                    401 East State Street
                    Trenton, NJ 08608


                    State of New Jersey - CBT
                    PO Box 644
                    Trenton, NJ 08646
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                    TD Bank
                    617 Lafayette Avenue #501
                    Hawthorne, NJ 07506


                    Tunnel Drum & Barrel
                    329 Veterans Boulevard
                    Carlstadt, NJ 07072


                    United States Attorney
                    Peter Rodino Federal Building
                    970 Broad Street, Suite 700
                    Newark, NJ 07102


                    United States Attorney General
                    United States Department of Justice
                    Ben Franklin Station
                    PO Box 683
                    Washington, DC 20044


                    UPS
                    PO Box 7247
                    Philadelphia, PA 19170


                    US Postal Service
                    Hawthorne, NJ 07507



                    Veckridge Chemical
                    60-70 Central Avenue
                    Kearny, NJ 07032


                    Verizon Wireless
                    PO Box 16801
                    Newark, NJ 07101


                    VIP Products Corporation
                    3805 Frankford Avenue
                    Philadelphia, PA 19124
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                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Commercial Products Co, Inc. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 August 7, 2020                                                        /s/ Stephen B. McNally
 Date                                                                  Stephen B. McNally
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Commercial Products Co, Inc.
                                                                       McNally & Associates, LLC
                                                                       93 Main Street
                                                                       Suite 201
                                                                       Newton, NJ 07860
                                                                       973-300-4260 Fax:973-300-4264
                                                                       steve@mcnallylawllc.com




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